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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                        Chapter 11

    COMPUTE NORTH HOLDINGS, INC., et al.,                         Case No. 22-90273 (MI)

                     Debtors. 1                                   (Jointly Administered)




                   OBJECTION AND RESERVATION OF RIGHTS OF
            U.S. BITCOIN CORP. TO DEBTORS’ PROPOSED ASSUMPTION
         AND ASSIGNMENT OF CONTRACTS AND PROPOSED CURE AMOUNTS

             U.S. Data Group, Inc. (d/b/a U.S. Bitcoin Corp.) (“US BTC”) hereby files this objection

and reservation of rights (the “Objection”) with respect to the proposed assumption and

assignment of certain contracts between US BTC and the above-captioned Debtors, as well as the

Debtors’ proposed cure amounts set forth on the Debtors’ Notice of Filing of Cure Schedule in

Connection with Proposed Sale [ECF No. 209] (the “Original Cure Schedule”) 2 and Notice of

Filing of Supplemental Cure Schedule in Connection with Proposed Sale [ECF No. 334] (the




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          The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi
LLC (5551); CN Atoka LLC (4384); CN Big Spring LLC (4397); CN Colorado Bend LLC (4610); CN Developments
LLC (2570); CN Equipment LLC (6885); CN King Mountain LLC (7190); CN Minden LLC (3722); CN Mining LLC
(5223); CN Pledgor LLC (9871); Compute North Member LLC (8639); Compute North NC08 LLC (8069); Compute
North NY09 LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883); Compute North TX06
LLC (5921); and Compute North TX10 LLC (4238). The Debtors’ address for the purposes of these Chapter 11 cases
is 7575 Corporate Way, Eden Prairie, Minnesota 55344.

2
         On November 1, 2022, the Debtors filed a Notice of Filing of Amended Cure Schedule in Connection with
Proposed Sale [ECF No. 357] (the “Cure Schedule Amendment”), pursuant to which the Debtors amended the
Original Cure Schedule solely with respect to certain executory contracts or unexpired leases identified in the Cure
Schedule Amendment.
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“Supplemental Cure Schedule” and, together with the Original Cure Schedule (as amended), the

“Cure Schedules”). In support of this Objection, 3 US BTC respectfully states as follows:

        1.       US BTC is party to certain agreements with the Debtors, including, among others,

that certain Master Agreement (the “Master Agreement”), dated February 5, 2021, by and

between Debtor Compute North LLC and US BTC. A copy of the Master Agreement is attached

hereto as Exhibit A.

        2.       Pursuant to the Master Agreement, the Debtors agreed to provide, among other

things, certain colocation, management, and other services with respect to certain of US BTC’s

miners and equipment. See Master Agreement §§ 1, 2, 3. Specifically, the Debtors agreed to

provide a cryptocurrency mining facility, including rack space, electrical power, ambient air

cooling, internet connectivity and physical security for US BTC’s mining equipment at facilities

to be maintained and managed by the Debtors, all as more fully set forth in the Master Agreement.

See Master Agreement §§ 1, 2, 3.

        3.       Additionally, pursuant to the Master Agreement, the Debtors agreed to sell to US

BTC, and US BTC agreed to purchase from the Debtors, certain hardware and equipment (the

“Acquired Hardware”). See Master Agreement § 4. In connection with US BTC’s purchase of

such Acquired Hardware, US BTC paid to the Debtors a deposit equal to 50% of the fees associated

with the Acquired Hardware, which amount totaled $3.75 million, as set forth on that certain order

form annexed to and incorporated into the Master Agreement. See Master Agreement § 4,

Schedule 1 – Capital Equipment.




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        US BTC’s deadline to file a response to the Cure Schedules and the proposed assumption or assignment of
the Master Agreement and other agreements listed in the Cure Schedules was extended by agreement of the Debtors
through November 10, 2022 at 4:00 pm (CT).


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         4.       In or around January 21, 2022, US BTC and the Debtors entered into an amendment

to the Master Agreement (the “Amendment”). A copy of such Amendment is attached hereto as

Exhibit B. Pursuant to the Amendment, the Debtors had until May 31, 2022 to identify an expected

deployment timeline and site with respect to the Acquired Hardware, and if the Debtors were

unable to identify a site that had an average/annualized power fee of no more than $0.03/kWh by

May 31, 2022 (such site, an “Acceptable Site”), US BTC (or the Debtors) could terminate that

portion of the Master Agreement respecting the Acquired Hardware at no penalty, after which

“[a]ll deposits would be refunded at [that] point in time.” See Amendment at 2.

         5.       As of May 31, 2022, the Debtors had failed to identify an Acceptable Site, and had

failed to deliver the Acquired Hardware. Accordingly, on June 7, 2022, US BTC delivered to the

Debtors a notice (the “Termination Notice”) advising the Debtors that US BTC was exercising

its termination right, and demanding the return of the $3.75 million deposit paid by US BTC. A

copy of the Termination Notice is attached hereto as Exhibit C.

         6.       In addition to the deposit amount, US BTC is owed additional amounts in

connection with the Master Agreement and amendments thereto, including, without limitation, the

return of not less than $635,448.14 related to US BTC’s overpayment of the Buffalo buildout

project arising pursuant to the Master Agreement. 4

         7.       On September 22, 2022, the Debtors filed their petitions for relief under Chapter

11 of title 11 of the United States Code. On their petitions, the Debtors listed US BTC as the

holder of a $3.75 million general unsecured claim. See ECF No. 1, Official Bankruptcy Form 204.




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         The description of claims set forth herein is not intended to, nor does it, constitute the entirety of claims that
US BTC holds or may hold against the Debtors. For the avoidance of doubt, US BTC reserves all rights with respect
to any and all claims and causes of action that it may assert against the Debtors.


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       8.      The Debtors have listed the Master Agreement (as amended by the Amendment)

on its Cure Schedules (along with two non-disclosure agreements) with a proposed “Cure Amount”

of $0.00. According to the Cure Schedules, the Cure Amount purportedly “excludes financing

agreements.”

                                          OBJECTION

       9.      Pursuant to Bankruptcy Code Section 365, the Debtors may assume and assign any

executory contract, provided that the Debtors: (i) cure (or provide adequate assurance that they

will promptly cure) any defaults existing under the contract; (ii) pay all outstanding amounts due

and owing under the contract; and (iii) provide adequate assurance of future performance under

the contract. 11 U.S.C. ¶ 365(a)-(b), (f); In re Nat’l Gypsum Co., 208 F.3d 498, 509 (5th Cir.

2000) (“Section 65(b)(1) provides a guarantee to the non-debtor party ... that as a condition to [the

assumption or assignment of its contract], any losses or defaults existing at the time will be

satisfied either through a timely cure or through reasonable assurances of future payment.”); In re

Tex. Health Enterprises Inc., 72 Fed. Appx. 122, 126 (5th Cir. 2003); In re Network Access

Solutions, Corp., 330 B.R. 67, 76 (Bankr. D. Del. 2005). Where the contract is to be assigned to

a third-party, the adequate assurance of future performance requirement must be satisfied by such

third-party. See 11 U.S.C. § 365(f)(1)(B); In re Fleming Cos., Inc., 499 F.3d 300, 305 (3d Cir.

2007) (quoting Cinicola v. Scharffenberger, 248 F.3d 110, 120 (3d Cir. 2001).

       10.     US BTC objects to the proposed assumption and assignment of the Master

Agreement and the proposed Cure Amount with respect thereto. First, the Master Agreement was

validly terminated prior to the Petition Date and, therefore, is not an executory contract subject to

assumption and assignment by the Debtors. See In re W&L Associates, Inc., 71 B.R. 962 (Bankr.




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E.D. Pa 1987) (noting the “clearly-recognized principle that a bankruptcy filing cannot revive a

contract that was already terminated pre-petition.”).

       11.     Second, the Debtors cannot assume or assign the Master Agreement without curing

all defaults thereunder, including the refund or other payment of not less than $3.75 million to US

BTC and the return of not less than $635,448.14 related to US BTC’s overpayment of the Buffalo

buildout project. The Debtors’ listed Cure Amount of $0.00 in respect of the Master Agreement

is plainly wrong.

       12.     Third, to the extent that the Debtors seek to assume and assign only a portion of the

Master Agreement, such partial assumption is prohibited. A party assuming an executory contract

must do so in its entirety—an executory contract cannot be assumed in part. See NLRB v. Bildisco

& Bildisco, 465 U.S. 513, 531 (1984); Richmond Leasing Co. v. Capital Bank, 762 F.2d 1303,

1311 (5th Cir. 1985).

       13.     Finally, it is unclear precisely who the assignee may be with respect to the Master

Agreement and such potential assignees’ ability to adequately perform under the Master

Agreement. Accordingly, the Debtors have not satisfied the requirements of Section 365 as it

relates to the adequate assurance of future performance.

                                 RESERVATION OF RIGHTS

       14.     US BTC reserves its right to supplement this Objection or to raise additional or

further objections to: (i) any proposed assumption or assignment of the Master Agreement or any

other agreements to which US BTC is a party; and (ii) the Debtors’ Cure Schedules.




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Dated: November 10, 2022            Respectfully submitted,

                                    BONDS ELLIS EPPICH SCHAFER JONES
                                    LLP

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                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 10, 2022, a copy of the foregoing document was electronically
filed with the Clerk of the Court, which will serve all parties who have appeared in this matter via the
Court’s CM/ECF system, inclusive of the following parties:

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                                                      /s/ Aaron Guerrero
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